Case 8:07-cv-01893-JSM-MAP Document 16 Filed 04/02/08 Page 1 of 6 PageID 240




                        UNITED STATES DISTRICT COURT
                         MIDDLE DISTRICT OF FLORIDA
                               TAMPA DIVISION


BP PRODUCTS NORTH AMERICA, INC.,

      Plaintiff,

vs.                                                    CASE NO: 8:07-cv-1893-T30-MAP

GIANT OIL, INC., a Florida Corporation;
GIANT JACKSONVILLE, LLC, a Florida
Limited Liability Company; and BASEM ALI,
an Individual,

      Defendants.
____________________________________/


                                        ORDER

      THIS CAUSE comes before the Court upon Defendants’ Motion to Dismiss and

Combined Memorandum of Law (Dkt. 7), and Plaintiff BP’s Memorandum in Opposition

to Defendant’s Motion to Dismiss (Dkt. 8). The Court, having considered the motion,

memorandum, complaint, and being otherwise advised in the premises, concludes that

Defendants’ Motion to Dismiss should be denied.

                                    BACKGROUND

      On September 9, 2005, BP Products of North America, Inc. (hereinafter referred to

as “BP” or “Plaintiff”) and Giant Oil., Inc., a Florida Corporation (“Giant Oil”) created a

franchise relationship through a Branded Jobber Contract (“2005 Jobber Contract”) for the

purchase and sale of BP’s petroleum products by Giant Oil. The 2005 Jobber Contract
Case 8:07-cv-01893-JSM-MAP Document 16 Filed 04/02/08 Page 2 of 6 PageID 241




includes an indemnification provision at ¶ 14 which provides as follows1:

       Jobber agrees to indemnify, defend and hold Company, including but not
       limited to Company’s parents, subsidiaries, affiliates and all officers, directors,
       shareholders, employees and agents of Company, its parents, subsidiaries and
       affiliates, harmless from and against all losses, suits, claims, damages
       (consequential or otherwise), demands, causes of action, liabilities, fines,
       penalties, costs or expenses (including reasonable attorney’s fees and other
       costs of defense) of whatever kind and nature directly or indirectly arising in
       whole or in part out of: . . . (c) any act of commission or omission at an
       Approved Retail Site; . . . (e) any allegation of agency or other alleged legal
       relationship by which Company is being held or might be held responsible for
       the acts or omissions of Jobber or its Jobber-Marketers; . . . (k) or any other act
       or omission of Jobber, its Jobber-Marketers, any other customers of Jobber, or
       any of Jobber’s - or a Jobber-Marketer’s - agents, employees, contractors,
       invitees, licensees, or business associates, except such as may be due to the
       negligence of Company. Notwithstanding the above, Jobber agrees that the
       defense obligation included in this paragraph 14 will be immediate and
       ongoing, regardless of any ultimate allocation of negligence or other form of
       liability.

       On or about February 9, 2005, Fadi Omar Abukhdair was shot and killed while

working at a Giant Oil owned gasoline service station at 835 West Memorial Boulevard,

Lakeland, Polk County, Florida. Two years later, in February 2007, Donna Jaber, Personal

Representative of the Estate of Fadi Omar Abukhdair, filed suit in the Thirteenth Judicial

Circuit in Hillsborough County, Florida (Case No. 07-001394) (“Underlying State Action”)

for wrongful death. BP was named as a defendant in the action.

                                   Plaintiff’s Allegations

       BP alleges that pursuant to the 2005 Jobber Contract, Giant Oil agreed to indemnify,

defend, and hold BP harmless from and against all losses, suits, claims, and damages arising


       1
           The 2005 Jobber Contract refers to Giant Oil as “Jobber” and BP as “Company.”

                                          Page 2 of 6
Case 8:07-cv-01893-JSM-MAP Document 16 Filed 04/02/08 Page 3 of 6 PageID 242




out of any act of commission or omission at any gasoline station covered by the 2005 Jobber

Contract. BP has brought the following claims against Giant Oil: Count I - Breach of

contract for failure to defend BP in the Underlying State Action; Count II - Breach of

contract for failure to indemnify BP; and Count III - Breach of contract for failure to procure

appropriate insurance. BP also contends in Counts IV and V that Giant Jacksonville, LLC

(“Giant Jax”) and Basem Ali (“Ali”) have breached their guaranty obligations.

       Giant Oil, Giant Jax and Ali (collectively, the “Defendants”) seek dismissal of all

counts pursuant to Rule 12(b)(6) for failure to state a cause of action upon which relief may

be granted.

                          12(b)(6) Motion to Dismiss Standard

       To warrant dismissal of a complaint under Rule 12(b)(6) of the Federal Rules of Civil

Procedure, it must be “clear that no relief could be granted under any set of facts that could

be proved consistent with the allegations.” Blackston v. State of Alabama, 30 F.3d 117, 120

(11th Cir. 1994) (quoting Hishon v. King & Spaulding, 467 U.S. 69, 73 (1984)).

Determining the propriety of granting a motion to dismiss requires courts to accept all the

factual allegations in the complaint as true and to evaluate all inferences derived from those

facts in the light most favorable to the plaintiff. See Hunnings v. Texaco, Inc., 29 F.3d 1480,

1483 (11th Cir. 1994). To survive a motion to dismiss, a plaintiff’s complaint must include

“enough facts to state a claim to relief that is plausible on its face.” Bell Atlantic Corp. v.

Twombly, 127 S.Ct. 1955, 1960 (2007). The threshold of sufficiency that a complaint must

meet to survive a motion to dismiss is exceedingly low. See Ancata v. Prison Health Servs.,

                                         Page 3 of 6
Case 8:07-cv-01893-JSM-MAP Document 16 Filed 04/02/08 Page 4 of 6 PageID 243




Inc., 769 F.2d 700, 703 (11th Cir. 1985). However, “a plaintiff’s obligation to provide the

‘grounds’ of his ‘entitlement to relief’ requires more than labels and conclusions, and a

formulaic recitation of the elements of a cause of action will not do.” Twombly, 127 S.Ct.

at 1959.

                                    DISCUSSION

I.     Contractual Duties.

       Defendants argue that Plaintiff’s Complaint fails to state a cause of action since the

2005 Jobber Contract attached to Plaintiff’s Complaint was executed by the parties on

September 9, 2005 (seven months after Abukhdair’s death). In response, BP argues that the

2005 Jobber Contract was in effect when the Underlying State Action was filed; and

therefore, Defendants have a contractual duty to defend and indemnify BP. Additionally, BP

argues that an ongoing contractual relationship has been maintained between BP and Giant

Oil since at least September 9, 2002. In support of this assertion, BP has attached a

substantially similar Jobber Contract entered into between BP and Giant Oil (the “2002

Jobber Contract”).2

       The relevant portion of the indemnity provision of the 2005 Jobber Contract states that

Giant Oil “agrees to indemnify, defend and hold [BP] . . . harmless from and against all . .

. suits, claims . . . causes of action . . . of whatever kind and nature.”3 The 2002 Jobber



       2
        See Dkt. 8, Ex. 1.
       3
        Dkt. 1, Ex. A at 9: 2005 Jobber Contract, Paragraph 14.

                                         Page 4 of 6
Case 8:07-cv-01893-JSM-MAP Document 16 Filed 04/02/08 Page 5 of 6 PageID 244




Contract includes an identical indemnity provision.4

       The Court acknowledges that the duty to indemnify more properly arises from the

2002 Jobber Contract. However, the duty to indemnify in the underlying state action may

also have arisen under the 2005 Jobber Contract which assigns Giant Oil the responsibility

to indemnify BP based on “any allegation of agency or other alleged legal relationship by

which Company is being held or might be held responsible for the acts or omissions of

Jobber.” BP asserts that it was sued because of its “vicarious relationship” with Giant Oil

(See Complaint at ¶12). This is an “allegation of agency or other alleged legal relationship.”

Therefore, the Motion to Dismiss is denied. The Court will deem the Complaint amended

to include the 2002 Jobber Contract. The Defendant has 20 days to respond.

II.    Whether Indemnity Action is Premature.

       Defendants also contend that the Complaint should be dismissed as premature because

Plaintiff has not yet paid damages in the Underlying State Action. Defendants rely on Scott

& Jobalia Construction Co., Inc. v. Halifax Paving, Inc., 538 So.2d 76 (5th DCA 1989) to

suggest that indemnity actions can not be filed until judgment has been entered against an

indemnitee, and the indemnitee has paid damages. However, the court in Scott & Jobalia

Construction Co. contemplated a common law indemnity action rather than a contractual

indemnity action. Contrary to Defendants’ contention, contractual indemnity actions can be

filed prior to judgment in the underlying case. See Ranger Construction Industries, Inc. v.



       4
        Dkt. 8, Ex. 8-2: 2002 Jobber Contract.

                                         Page 5 of 6
Case 8:07-cv-01893-JSM-MAP Document 16 Filed 04/02/08 Page 6 of 6 PageID 245




Martin Companies of Daytona, Inc., 881 So.2d 677, 681 (Fla. 5th DCA 2004); Chappell v.

Scarborough, 224 So.2d 791, 796 (Fla. 1st DCA 1969). Furthermore, Plaintiff has timely

raised additional breach of contract claims relating to Giant Oil’s duty to defend and procure

insurance, as well as breach of guaranty obligations by Giant Jax and Ali. Courts have the

authority to grant a stay of indemnity proceedings pending final judgment in a related state

court action. See Prudential Prop. and Casualty Ins. Co. v. Calvo, 700 F.Supp. 1104, 1105

(S.D. Fla. 1988). Therefore, the Court concludes that BP’s indemnity action was not filed

prematurely.

           For these reasons, the Court denies Defendants’ motion to dismiss.

                                           CONCLUSION

           It is therefore ORDERED AND ADJUDGED that Defendants’ Motion to Dismiss,

and Combined Memorandum of Law in Support (Dkt. 7) is DENIED.

           DONE and ORDERED in Tampa, Florida on April 2, 2008.




Copies furnished to:
Counsel/Parties of Record
S:\Odd\2007\07-cv-1893.mot dismiss 7.wpd




                                            Page 6 of 6
